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                                                                      U.S. DISTRICT COURT
              In the U.S. District Court for the District of                       HAMPSHIRE



                                                                         JUN 012016
John & Jane Doe,
                                                                           FILED
       Plaintiffs;

V.                                               Case No.


St. Paul's School


       Defendant.




          Plaintiffs' Motion for Leave to Proceed Under Pseudonyms

       Plaintiffs, John and Jane Doe, as next friends and parents of J.D., a minor, by and

through their undersigned counsel, respectfully move this Court for leave to proceed

under pseudonyms to protect the identity of the minor victim of sexual assault on

whose behalf this action is brought. The precise factual and legal basis for this Motion is

set forth in the attached Memorandum in Support.
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                          Respectfully submitted.
          tOflo

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                             CERTIFICATE OF SERVICE


      I hereby certify on this 1st day of June, 2016, a copy of the foregoing Motion to

Proceed Anonymously, Memorandum in Support thereof and proposed order will be

served on Defendant along with the Complaint initiating this action.




                                                Charles G. Douglas, III
